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1                     THE UNITED STATES DISTRICT COURT

2                         FOR THE DISTRICT OF OREGON

3                             MEDFORD DIVISION

4

5    ARNAUD PARIS,                 )
                                   )
6                 Petitioner,      )      Case No. 1:22-cv-01593-MC
                                   )
7                    v.            )
                                   )      December 7, 2022, 2:00 PM
8    HEIDI MARIE BROWN,            )
                                   )
9                 Respondent.      )
     ______________________________)
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12

13                               COURT TRIAL

14                   EXCERPT OF TRANSCRIPT OF PROCEEDINGS

15               BEFORE THE HONORABLE MICHAEL J. MCSHANE

16                   UNITED STATES DISTRICT COURT JUDGE

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                          United States District Courthouse
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1                THE COURT:    All right, folks.      Thanks for your

2    patience.     Let's go back on the record, and we'll hear any

3    closing arguments the parties wish to make, starting with the

4    Petitioner.

5                MR. STARKS:    Thank you, Your Honor.         Are we -- did

6    that mean we're set?

7                THE COURT:    Yes.

8                MR. STARKS:    Okay.   Thank you.

9         And I would want to start with just pointing out that

10   what's on the ELMO, Your Honor, is what I sort of understand --

11   understood -- was the theoretical thing that the Court's surely

12   working its way through.       Article III is the article about

13   wrongful removal and retention.

14        The Ninth Circuit in the Mozes case, which is M-O-Z-E-S,

15   has told us here sort of the questions you're going to ask

16   yourself when you're thinking about a wrongful removal as a

17   judicial officer, I mean, as the lawyer, when I'm analyzing my

18   case.   So that will be there just if you've got questions or

19   thoughts about any of those particular questions as I go.

20        And now I'll start.       So, as a lawyer, you know, I like

21   logic puzzles.    I think many of us do.       That's why we go into

22   the law.    It's interest of figuring out the spaghetti and how

23   to unwind the noodles.      And so, as a result, I have a tendency

24   to see them sometimes where they are really not.             And so I find

25   it important for me, in many of my cases, and certainly in this




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1    case, as well, to take that big step back and ask myself

2    whether I've really got a puzzle or not.

3           And I think how I would do that, in this case, is take

4    that first big step back and ask, "Why do we have the Hague

5    Convention at all?"     And, you know, I've answered that case --

6    I've answered that question how the Ninth Circuit answers it in

7    Mozes.    And, you know, every circuit answers it about the same

8    way.     But I have always liked the Third Circuit sort of

9    cut-to-the-chase talk about why we have the Convention.

10          And I'm thinking specifically the Karkkainen case.           It's

11   K-A-R-K-K-A-I-N-E-N.     It's 445 F.3d 280, Third Circuit, 2006.

12   In the Karkkainen case, the court said, "The Convention was

13   designed to deter parents from engaging in international forum

14   shopping in custody cases."      That's what the Convention is for.

15          I think that's a nice, really, straight to the point, why

16   do we have the Convention, and why are we sitting here today?

17   Because we all know what happened in this case.          This does not

18   become a logic puzzle case when we ask ourselves, through the

19   framework of why we have a Convention, why are we here?

20          The Respondent specifically, and with intentional

21   forethought, engaged in international forum shopping for the

22   custody case she planned no later than July 19th -- as we can

23   see from Exhibit 23, which was admitted into evidence -- the

24   case she planned to bring in Oregon when the time was right for

25   her to do so under the UCCJEA.      That was the plan.       And if the




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1    Convention is to stop that, then she's violated the Convention.

2    There's a wrongful removal of the children as a result.

3         So the Court asked about wrongful removal, but I do -- and

4    I'll talk about that.     But I do want to say that let's remember

5    there's actually two prongs to analyze, not just one.               A

6    wrongful removal of children occurs when a parent takes

7    children to another country without authorization of the other

8    parent before leaving.

9         A wrongful retention is when a parent does not return with

10   those children to the country of habitual residence after some

11   agreed period of time.     And we have both of those things to

12   think about in this case, Your Honor, not just wrongful

13   removal.

14        So, as I prefaced my remarks with, it's important, I

15   think, to understand that Exhibit 23 demonstrates a wrongful

16   removal.     If Mr. Paris did not intend to follow the July

17   agreement, all that means is he had intended for the children's

18   habitual residence to remain in France.         He intended a status

19   quo decision when it came to the July agreement, if you were to

20   believe that he never had any interest in following it.

21        That's not a custody forum shopping decision.           That's a

22   status quo decision.     The girls remain in their habitual

23   residence.    They remain in their schools.       They remain with

24   their friends and family with whom they've grown attached over

25   the three years that they've been in France.




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1           And these are, of course -- you know, they're very young.

2    I mean, from their perspective, I imagine, other than this

3    short period of time they've been in Oregon, they really only

4    remember France.        This was during, you know, ages four, five,

5    six, and seven.    Right?      I mean, this is a very formative time

6    for children.    These are little French kids.

7           So we don't have a forum shopping issue going on if we are

8    just to believe that Mr. Paris was never interested in

9    following the agreement.

10          I would also say that I think it's a little tough on him

11   to say that I don't think that he ever planned to follow the

12   agreement.    You know, we heard his testimony, and we all

13   understand that he's ill.        And the way I think of those few

14   weeks that he remained behind in Paris in early August, is that

15   the force majeure of this situation for him became apparent to

16   him.    He needed to be in France for medical care.

17          It was during that window between July 29, when his family

18   had left for Oregon, and August 19, when he joins his family in

19   Oregon -- it's during that period of time that he's talking

20   with his dad and having his dad raise alarm about this plan

21   that he's been cooking up to somehow have insurance in Oregon

22   and have it all work out.

23          It's during this time that he gets the Exhibit 25 that

24   confirms he has insurance that will last for no less than five

25   years to try to deal with the illness that he has.




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1         It's during that time -- that August 19 -- or, I'm

2    sorry -- that July 29 to August 19 that he gets the notice of

3    Exhibit 26 that if he were to live outside France, that could

4    jeopardize his insurance.

5         And the idea at trial -- I mean, I'm an American

6    citizen -- the idea at trial is not to bash the U.S. medical

7    system, but to point out the obvious.        Mr. Paris is at no risk

8    of going broke in France with the medical care that he needs.

9    He's not going to have -- he's going to have the full attention

10   of whatever medical team he needs and whatever medical services

11   he needs.     There's not going to be an insurance company that

12   decides that for him, and it's not going to be the power of his

13   pocketbook that decides that for him.

14        He's not going to be bankrupt at the end of his illness in

15   France.     And nobody here can promise that to Mr. Paris in

16   Oregon.     We simply can't.   We know how ObamaCare's been beat

17   around.     Forget Regence Blue Shield and all the rest.            You

18   know, the preexisting -- we all know the preexisting

19   conditions, which were -- tried to be attacked shortly after

20   the legislation was entered.

21        There are no guarantees in the United States about what

22   sort of medical care he's really going to have in Oregon.                 And

23   so I think it's pretty tough to -- I think it can be a little

24   tough -- to just sort of paint the same brush for both why he

25   might have -- between August -- between July 29 and




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1    August 19 -- gotten some significant cold feet about this July

2    agreement, and what was going on, on the other side, which, on

3    July 19, had already planned, by January 2022-2023, to be

4    filing for custody in Oregon.

5         And these are two very -- the spirit between those two

6    differences of, "I don't want to follow the agreement," and "I

7    don't want to follow the agreement," are very, very different.

8    And only one of them violates the Convention.              Only one of them

9    is international forum shopping by a family for purposes of a

10   custody decision.       And that's not what Mr. Paris was doing.

11        And I'd also point out, you know, one of the things that I

12   didn't talk about in Exhibit 83.          And Exhibit 83 is that

13   WhatsApp where Mr. Paris is talking about the fact that, "Hey,

14   I found this on your computer.       Your explanation is making no

15   sense.   Was this your lawyer or was this you?             If it was really

16   just your lawyer and not how you felt, you would have fired her

17   right away to say these evil things about me.              And the fact

18   that you're just waiting for me -- you're even going to use the

19   fact that I'm sick and in France against me, as being an absent

20   father, when you filed for custody in January."

21        Part of that -- he also says -- and I'll use the clean

22   language.   He says, at one point, "It's my effing life."                  And

23   you know what he means by that.          Right?   What he means by that

24   is, "You're telling me you would lie to me just to have a

25   custody case in Oregon instead of France and maybe kill me?"




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1    Right?   "You would really do that?"

2         And so you can understand really the place he found

3    himself in as we're getting ourselves ramped up to these

4    children leaving and him figuring out really what's going on

5    with his health and what needs to happen next.

6         I still think that it's important also to understand that

7    the medical condition remains a big issue in this case.               He

8    still has that medical condition.        And a couple of things are

9    important.    Both how I've described it, which I think anybody

10   who gets bad medical news is going to need some time to process

11   that.    And, you know, he hadn't processed it on July 19 like he

12   processed it by August 20.      Right?    He simply had not.         And I

13   don't think that that's wrong.      I don't think we need to be

14   upset with him for taking some time to figure that out.

15        I would also point out that during the time that he

16   sorting this out as we run up to the July 19 agreement, you do

17   have to consider the psychological manipulation that he was

18   going through.    You've seen the videos in Exhibits 47 and 48.

19   And they were devastating to him.        Right?

20              THE COURT:    I agree.   But, I mean, up until the 13th,

21   the whole family was leaving for Ashland, and all of a sudden

22   he's gone with the passports, puts a hold on a tickets, and

23   everything that seemed to be in place disappears, and Ms. Brown

24   is in a hotel room with two kids.

25              MR. STARKS:    I'm not sure that's exactly the case,




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1    Your Honor.    I understand what the Court is telling me.            Here's

2    my -- here's what I believe I heard and what I think was going

3    on.

4          I think these parties were having problems back in April

5    and May and were in therapy.       And I think that they were

6    discussing, in therapy, all kinds of things and hoping it was

7    going to get better.      And I think one person thought, "I want

8    to move to Ashland, Oregon," and the other person thought, "I

9    want to try to keep my family together."

10         And so we have all this sort of marching along with one

11   person, perhaps somewhat naively, saying, "I want to keep my

12   family together," while another person would like to move to

13   Ashland.

14         Then you have the fact that in May and into June,

15   Mr. Paris learns that he's ill.         And it becomes clearer and

16   clearer that he's ill enough that the idea of moving to Oregon

17   is becoming more and more an idea that's -- I know we don't

18   talk about this in the federal court for purposes of your

19   decisions -- but for how he's thinking about things, it's

20   becoming more and more not in the best interest of the

21   children.     I mean, that's why he goes out and gets that

22   pediatrician's note that he does.        Right?     It's because he --

23   you know, he senses and he knows that the kids need to be

24   around him.

25         And I would also point out -- let's see if I can find it




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1    in my notes here quickly.      Otherwise, I'll come back to it.

2    You know, there's an email that the Respondent sends to

3    Mr. Paris, while he's in France in that July 29 to August 19

4    period, where she's talking about the difficulties that the

5    children are having, and thinking about how sick he might be,

6    and how he's not there.

7          So all these things are going on.        And I certainly

8    understand the Court's -- what the Court was saying to me

9    when -- "Hey, I mean, yeah, those videos are pretty terrible.

10   But nobody looks exactly great on July 13, Mr. Starks," is what

11   I'm hearing you say.      I don't disagree.

12         But you have to remember, I mean, who the pressure is on.

13   Right?    I mean, the pressure isn't on Ms. Brown.         Ms. Brown

14   doesn't have any physical maladies.        Ms. Brown has a job in

15   France.    We can find another apartment.       If these parties were

16   in a better state in their relationship, we wouldn't be here.

17   Right?    Because all it would have taken is them having a really

18   good conversation about how, "Look, I'm -- this is really tough

19   for me.    This is not going to work.      You just leaving, us not

20   having any sort of agreement in place, me trying to have

21   mediations with you" -- right?

22         You've got these two exhibits where Mr. Paris is saying,

23   "Hey, I mean, I'm not okay with this.         We need to talk about --

24   I feel like you're leaving.      We need to talk about the fact

25   that if you're leaving, and you're really not coming back, and




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1    this isn't going to be a family anymore, I want a mediation to

2    try to figure out what our international parenting plan's going

3    to look like."     Right?

4          So I don't think that -- I think it was well done

5    testimony.    I don't think it was exactly what was going on.                I

6    think Ms. Brown was very well aware that Mr. Paris had real,

7    real concerns about this move.           And she was just hoping she

8    could -- it would get pulled off, and whatever the problems

9    would be would get sorted out in Oregon.             That's how I feel

10   about it, Your Honor.

11         So there's the wrongful removal.           Right?     We've got

12   Exhibit 23.    We know what that means.          We also have Exhibit 49

13   and 50.    These are the petition for the divorce and the

14   custody.    These are the letter with the proposed temporary

15   order and the proposed parenting plan.            And that's -- we have

16   the fruit of the Exhibit 23 plan.           Right?    It's no longer just,

17   "This is what I might do when I get to Oregon," as Ms. Brown

18   testified.    It is, "Here's what I've done."

19         Now, she's hone -- she's filed sooner than she wanted to.

20   Right?    She wanted to wait until January to know that she got

21   six months in Oregon.       She went ahead and rolled the dice, did

22   it with three months, and argued not home state but significant

23   connections.    Right?     But you have the fruit of the decision

24   on -- that's set forth in Exhibit 23 of what she was going to

25   do.   So we have the removal.       We see it from Exhibit 23.          We




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1    see the fruit of that removal from Exhibits 49 and 50.

2           And let's just be clear -- right -- there would have never

3    been nine suitcases, there would have never been a lifted

4    travel ban, these children would have never been in Oregon on

5    July 29th for even a summer vacation if the Respondent had not

6    lied, pretended she wished to remain a couple to entice

7    Mr. Paris to follow the children and her to Oregon.

8           If she hadn't done -- if truly she had not done what she

9    did, which was enter into a July agreement she never intended

10   to follow, we would not be here, these children would be in

11   France, and these parties, if they couldn't make it work as a

12   couple, would have a French custody order about how to handle

13   their French children.

14          I also do want to talk about the agreement in a practical

15   way.    And, again, I don't want to suggest the Court is here to

16   think about the best interest of the children.            But I'm a

17   divorce lawyer, so I can't help but talk about this stuff a

18   little bit.

19          This was a family law agreement.       Right?     In a family law

20   agreement, if facts change such that an agreement between the

21   parties becomes detrimental to the children, no court enforces

22   that agreement.     Right?   As a practical matter, if the Court

23   were to determine that an agreement between parties had now

24   turned into something that would be detrimental for the

25   children, that agreement's gone.        And I believe that that's the




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1    case.

2          And I'm not suggesting Mr. Paris is a lawyer or a Court is

3    allowed to make those decisions, necessarily.             But, as a

4    practical matter, what we have is a parent who's ill, who needs

5    to have medical care in Paris, and his kids should be there.

6    His kids should be around while he's going through this medical

7    care.

8          And this is where it was going to take me some time to

9    find it.    The exhibit that I was talking about was Exhibit 27.

10   That's the email from the Respondent where she's describing to

11   him the issues that the children are having with his absence in

12   that July 29 to August 19 time frame.          So, as a practical

13   matter, they shouldn't have a dead dad and they shouldn't have

14   an absent dad.      Both of those things are not in their best

15   interest.

16         So, to me, as a practical matter, the agreement has always

17   been kind of a bigger thing than it ever needed to be over this

18   case.   Because, again, if these parties had been working well,

19   that's not -- you would both walk away from that agreement.

20   "Oh, my God, you mean you're so ill that you've gotten this

21   five years of care in France now.        Oh, my gosh, the kids are

22   communicating to me how scared they are about this."             I mean,

23   there would be no conversation.         Everybody would be back in

24   France.    Right?

25         So, as a practical matter, it's just not in the best




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1    interest of the children in that agreement.          It's just not.

2    And so I don't think that it ever really needed to be followed.

3    I just don't.     Especially when we know, ultimately, what

4    happened with Mr. Paris' need for medical care.           So wrongful

5    retention, because I think that there is that in this case as

6    well.

7           So, again, not to make it sound like we don't all

8    understand.    But wrongful removal -- you shouldn't have taken

9    them.   Wrongful retention -- you should have brought them back,

10   and you didn't.     Right?   I mean -- and both of those are

11   wrongful under Article III, and both of those things are things

12   that you can circle and say, "As a result, wrongful; you've got

13   to send these kids back to France."

14          So I believe you have a couple of dates to choose from in

15   thinking about wrongful retention.        You've got August 20.          On

16   August 20, the Respondent convinces Mr. Paris to turn over the

17   children's French passports to her.        Then she refuses, as she

18   testified on cross-examination, his multiple requests to return

19   those passports, leading him, as the Court knows, to file

20   police reports that are found in Exhibits 32 and 33 regarding

21   the state of affairs at the family home in Oregon.

22          If you -- and I know -- I'll get to (indiscernible) at the

23   end.    You said it didn't matter too much.

24               THE COURT REPORTER:     Sorry.    "I'll get to" what?

25               MR. STARKS:    I'll get to habitual residence at the




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1    end.     I'm trying to watch here.         So I -- I'll get to habitual

2    residence at the end, because I know I should talk a little bit

3    about it.     But, I'm with you, I don't know how France couldn't

4    be the habitual residence.

5           If France is the children's habitual residence, Mr. Paris

6    could not have wrongfully removed the children from Oregon with

7    their passports.        The only thing that could happen is that,

8    without the passports, the Respondent could be sure that she

9    could accomplish a wrongful retention.             That's the only thing

10   that could be accomplished by her maintaining the passports.

11          If France is their habitual residence, his removal of the

12   children back to France would not have been in violation of the

13   Hague Convention.       She could have filed something in French

14   family court alleging that they had this July 19 agreement, and

15   he was breaching it, and the children should be brought back.

16   But it's not a Hague Convention case.             France is the children's

17   habitual residence.

18          All it is, when you take those passports, is a wrongful

19   retention.    That's all you're doing.          You're making sure the

20   children, who are habitual residents in another country, cannot

21   be taken back to that country.            It's not a logic puzzle.

22   Right?    It is.   I'm describing gravity.          It is what it is.        So

23   that's the first date.

24          I would also have you keep in mind that Mr. Paris never

25   got those passports back.        Right?      Those passports now sit --




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1    because you entered an order saying that all passports needed

2    to be turned over to the Medford clerk.            Those passports --

3    those French passports sit in the Clerk's Office in the federal

4    court building in Medford, Oregon.           And so those passports have

5    been wrongfully retained as long as the children have been

6    wrongfully retained in this state.

7          The second date would be October 7.            And I've described

8    Exhibits 49 and 50, which are the petition for divorce, and the

9    letter, and the temporary order, and the parenting plan, and

10   all that sort of stuff.       I've described those as sort of the

11   fruit of the wrongful removal.           Right?   How do we know it was a

12   wrongful removal?       Well, we've got Exhibit 23 and then we've

13   got the filing of a divorce.

14         But I would also point out that under Roche v. Hartz --

15   which is R-O-C-H-E -- Hartz, H-A-R-T-Z -- which is a district

16   court case out of Ohio.       It's 783 F. Supp. 2d 995.          It's a 2011

17   case.   Under that case, the court was looking for dates to

18   figure out, okay, when did the wrongful retention start.                And,

19   in that case, the court said the retention started the date

20   that the petition for divorce was filed.             Because, at that

21   point, you had notice that the parent was never coming back

22   with those kids to the habitual residence that you were

23   asserting had been their habitual residence.

24               THE COURT:    Help me out.       I'm looking for the

25   exhibit.    What day was the petition filed?




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1                MR. STARKS:      October 7, Your Honor.        The exhibit is

2    Exhibit 49.

3                THE COURT:     In your earlier argument that wrongful

4    retention is the date of withholding of the passports, that

5    date would be...

6                MR. STARKS:      Oh, I'm sorry.     That date would be

7    August 20.    That would be the date that he turned over the

8    passport, and all requests after that date were denied by the

9    Respondent for their return.

10               THE COURT:     Okay.

11               MR. STARKS:      So those are the two dates.         You've got

12   those two dates, I believe, to circle as potential wrongful

13   retention dates.        But, again, I don't think wrong -- I

14   certainly understand all the evidence this Court has had to

15   take and all the things this Court has to think about.                 But,

16   for me, it's just really not a big logic puzzle for removal.

17         These children would not be here if there had been no July

18   agreement.    That July agreement was fraudulently entered into

19   by the Respondent with no intent of ever following it.                 That

20   was a wrongful removal.

21         Now, what we would pivot to -- right -- if I've

22   established that we've got a wrongful removal, you'd pivot to

23   the defenses that the Respondent has raised.               And she's raised

24   two Article 12 defenses.        I guess, here I would point out -- I

25   think the Court knows, but just to point out -- my burden as




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1    the Petitioner was on the wrongful retention part -- right --

2    to establish habitual residence.

3          If I've done that -- if you decide I've made a prima facie

4    case with the testimony I was able to put on and the great

5    argument I'm giving you now -- if you were to decide that, the

6    burden then shifts to them on any defenses they wish to raise.

7    And because -- and they raise two Article 12 defenses, consent

8    and acquiescence.       In other words, that Mr. Paris has either

9    consented to the children being here or acquiesced to their

10   presence to be here.        Right?

11         And that now is their burden.           It's not my burden to say,

12   "No, we didn't."        It's their burden, again, by preponderance of

13   the evidence, to convince you that more probably than not he

14   has consented or acquiesced.

15         I would also point out a couple of things when you're

16   thinking about these defenses.            The concept of these defenses

17   is that they are narrowly drawn to effectuate the purposes of

18   the Hague Convention.        And, you know, just about every case

19   that talks about this talks about it.             But I will tell -- you

20   know, I'm looking, again, at a Third Circuit case.                It's

21   Tsia-Yi Yang, T-S-I-A-Y-A; Yang, Y-A-N-G.              That's Third

22   Circuit.    It's 499 F.3d 259, a 2007 case.

23         You know, the idea is that these are narrowly drawn,

24   because the purposes of the Hague Convention are what?                  To send

25   children home; right?        So we're not supposed to get overly




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1    legalistic and technical.      We're not supposed to be looking for

2    reasons to find these defenses.         They're to be narrowly drawn

3    and you're to be convinced.      Right?     And so -- and I would also

4    point out that even where a defense applies, you, nonetheless,

5    have the discretion to return the children anyway.

6          And that's both that case and many other cases -- and

7    Hague Convention Article 18.       Hague Convention Article 18 says,

8    "The provisions of this chapter do not limit the power of a

9    judicial or administrative authority to order the return of the

10   children at any time."      So you have this sort of catch-all in

11   the Convention.     Maybe some things were interesting.          Maybe

12   they raised a defense that you thought was a good defense.

13         If you still think the children's home is France, and they

14   should go to France, then you still have the authority to do

15   so.   These are to be narrowly drawn.        And even if you find that

16   the defense is well taken, you have the discretion to order

17   their return anyway.

18         So here's the things I would have you -- the Court -- I

19   would ask the Court to try to keep in mind when thinking about

20   consent and acquiescence.      First, I think consent is out the

21   door.    Just like Exhibit 23 shows that there was a wrongful

22   removal, Exhibit 23 shows there was no consent to the removal.

23   Right?   The consent that was obtained was fraudulently obtained

24   with a lie and would not have been obtained -- the consent to

25   remove the children to Oregon would not have been obtained in




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1    the absence of that lie.

2           So then the question becomes acquiescence.         And I have a

3    specific case in my materials that I provided to you in my

4    trial brief.    It was a district court case out of Texas.           It's

5    page 7 of the trial brief if the Court ever wants to take a

6    look at that particular case.       And, in it, that father did some

7    of the things that this father has done who's before you.

8           Mr. Paris never consented to the children's enrollment in

9    school in Oregon, just like the father in the trial brief case

10   never consented to the children's enrollment in Texas.              And

11   that was one of the ways the Court found there had been no

12   consent or acquiescence.      He hadn't agreed to it.        He hadn't

13   agreed for the children to be there to attend school there.

14          You have not only that he affirmatively wasn't involved in

15   the enrollment process of the children, but you also have

16   Exhibit 51, which is his email with the principal -- or with

17   the school personnel of some kind -- letting them know that he

18   did not consent to the children attending school in Oregon.

19   That's Exhibit 51.

20          And Exhibit 52 -- you have his email where he's attempting

21   to confirm whether the Respondent has ever let the principal

22   know that the children were just going to be there for a year.

23   And the principal says, "That's never been communicated to me.

24   No."

25          So you have a clear chain from him of, "I'm not agreeing




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1    to this."     Right?    "Here's my email to the school.         Here's my

2    email to the principal.        I wasn't involved in enrolling the

3    children in school."        And of course he did not sign the house

4    lease.    So he did not consent to there being a house for the

5    children to be living in, in Oregon.          And I think that's a big

6    deal and wasn't -- and maybe hasn't been talked a lot -- talked

7    enough about.        He did not agree to sign a lease for these

8    children to be in Oregon for a year.

9          And so he didn't agree that they could attend school, and

10   he didn't agree they could live there in any document that was

11   put in front of him that would make him agree.

12         Now, there are things that happened.           Right?    If I was

13   opposing counsel, I'd argue about the fact that he was in

14   California, loaded up a truck, and brought it across state

15   lines with all the stuff.        I'd also try to argue the nine

16   suitcases, but I'd remind you that the nine suitcases don't

17   exist without Exhibit 23.

18         But I'd try to argue all the stuff he did when he got to

19   Oregon.     Right?    I'd argue about, you know, what about the nice

20   WhatsApp messages where he says, "Let's be a family," and all

21   the rest of this?       And, you know, I know what Mr. Paris

22   testified to -- that he felt he was -- that was the only way to

23   see his children.       You know, there's -- other than his

24   testimony -- there's certainly no WhatsApps that say, "You

25   can't see the kids."




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1          I will say, there are messages, though.            Right?   You've

2    got messages where, you know, he's being treated like a child.

3    Right?   He's being told, "Oh, well, you know, maybe you can

4    start staying with the parents again when you apologize for

5    your behavior.     This can be a good teaching moment for the

6    children to see you treated as a child having to apologize

7    before you can stay someplace."

8          This was not -- here's what I would tell Your Honor.                I

9    think this is very clear, regardless of whose testimony -- or

10   whether either one of them had testimony you wholly believed at

11   any time -- there was a true power imbalance here.             Right?

12   There's one person who's, you know, born and raised in France.

13   And their motivation, whether they're accomplishing it with the

14   greatest deal of aplomb every time, is to try to keep their

15   family together.

16         So it's not crazy to imagine a world where, when you have

17   this differential in power, and you have someone who's really

18   trying to keep a family together, and who is ill, and who wants

19   to be able to see their children, and is really doing their

20   best to try to figure out a way to stay on the person who's got

21   the power in the relationship right now -- stay on their good

22   side -- and talk them into coming back to France as a family.

23   Right?

24         It's easy to imagine taking steps that a clever attorney

25   might call, "Hey, you were just acquiescing to this removal or




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1    this retention."        But the facts would suggest -- are really the

2    product of what it's like to be in a messy relationship.                You

3    know, many of us -- thankfully, most of us haven't in been in a

4    situation that was so messy they needed to be in front of a

5    federal court judge.

6          But we've all been in messy relationships where, at every

7    moment, we weren't necessarily at our best, and where, every

8    moment, we might have taken steps that we thought were the best

9    way to keep the peace.        And if someone was to ask us later, in

10   a deposition or a trial, whether that meant we agreed or

11   acquiesced, we'd have to say, "Wait, wait, wait.              That's not

12   what I meant or what I was trying to do."

13         So that would be what I would really try to drive home

14   with the idea of acquiescence, Your Honor.             This is a true

15   power differential.       He doesn't have the children's passports.

16   They are being kept from him.         He sees the children when she

17   lets him see the children.        Right?     I mean, he's not on the

18   lease of the house.       He's not going to come and go.

19         He testified that the keys to the car -- he didn't -- he

20   wasn't given the keys to the car.          So he came and went as

21   people pleased, not necessarily how he pleased, in trying to

22   keep the peace in that situation, in trying all along to figure

23   out a way to say, "Hey, can we just get back to France?"                You

24   know, that makes, to me, at least 51 percent sense as a way of

25   thinking about whether there's truly acquiescence in this case




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1    or not.

2          So, in result, you said you didn't want or need a lot of

3    habitual residence argument.       I agree.     I mean, I don't know

4    how these children couldn't have been habitual residents of

5    France at the time of their removal.         These are children who --

6    we have one child who, the testimony is unrebutted, was signed

7    up for a four-year program.      So not only does that show that

8    she was habituated before -- that she had been there for three

9    years -- but that another three years was anticipated that the

10   family would be there just for the musical program that she was

11   engaged in.

12         And this family was looking for apartments.            And that was

13   Exhibit 75, Your Honor, that you were thinking about earlier

14   today in your questions for Ms. Brown.          Exhibit 75 is the text

15   messages and WhatsApp messages of the French apartments that

16   the parties had looked at.      I think some of them -- some of

17   those are as early as February, and some of them are as late as

18   in between that July 19 and August 20 window.             Right?     So -- or

19   July 29th -- so July 29-August 19 window, when the children

20   have left on July 29 with Ms. Brown, but Mr. Paris remains in

21   France.    That exhibit also shows him sending her apartments for

22   France during that window.      Right?

23         So I think it's, to me, very clear that these parties and

24   the children were habitual residents of France.            And so, you

25   know, what's that mean?      And, as I said, Your Honor, I think




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1    Holder says it best when it says, you know, "Are you sending

2    the children home if you send them back to France?"             Because

3    your job is to send them home.

4           And the logic puzzles can be interesting.          You know, as a

5    lawyer, as I said, you know, I have a weakness for them.              You

6    know, if the restaurant serves mushroom soup on Wednesday and

7    lentil soup on Thursday and all that good sort of stuff.              But,

8    at the end of the day, you know, most Hague Convention cases

9    can get boiled down to some pretty specific issues that carry

10   the day.    And I feel very strongly that the specific issues

11   that I've identified for you in this argument really carry the

12   day.

13          These children need to be sent back home to their friends,

14   to the home that they've lived in, to the schools that they've

15   attended.    These are French children, and they should be

16   returned.    Thank you.

17               THE COURT:    All right.     Thank you.

18          For Respondent?

19               MS. SKINNER:     Thank you, Your Honor.

20          The Convention and the enforcing U.S. law -- the ICARA --

21   indicate that the international abduction or wrongful retention

22   of children is harmful to their well-being.           And I agree with

23   Mr. Starks' contention that this is not, although, a

24   best-interest case.      And the Court must determine whether or

25   not a wrongful removal or retention takes place.




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1          So the first step is determining whether or not a wrongful

2    removal occurred.       The Court heard credible testimony from

3    Ms. Brown about the months and days leading up to the

4    children's removal from France.          The Court heard testimony that

5    the parties had discussed over the years, since their move to

6    France in 2019 until their ultimate departure in 2022, that

7    that was an ongoing discussion about the parties.

8          I think there's some pretty clear evidence that the

9    parties left California in 2019 with an intention to be in

10   France for a limited duration while they were developing their

11   California property.       And that that got delayed mostly because

12   of COVID and because of the pandemic that was going on.               When

13   the discussion finally came back on the table again, after the

14   40th birthday that Ms. Brown celebrated, tickets were

15   purchased.    Those were one-way tickets from France to the U.S.,

16   and it was specifically scheduled for a date that would work

17   for the children's schooling and their activities for

18   July 13th.

19         So the parties, at that time, agreed to have the return

20   move to Oregon.     At that point, Mr. Paris took the lead on --

21   what was important to him in the move was to have an au pair on

22   the ground in Oregon to ensure that the girls were maintaining

23   their connection with France while in Oregon.              And so on May

24   19th of 2022, the parties signed the au pair application.                  They

25   then interviewed the au pair, both by video and in person.                 She




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1    was going to start in August of 2022, and the contract notes a

2    12-month commitment.

3          The parties continue on their steps towards their move to

4    Oregon by sending a letter and email to their French landlord

5    indicating that they were going to move to the U.S. and settle

6    in.   The parties unenrolled the girls from both of their

7    schools for the upcoming school year, while reserving their

8    daughter's space in the musical program.            That was to be put on

9    pause for a year.

10         And not only did Ms. Brown involve herself with the

11   removal of the children from the French school system, but

12   Mr. Paris was an equal participant in that.            And we can see

13   that in Exhibits 211 and 213, where Mr. Paris is asking for not

14   only a copy of the radiation certificate -- the unenrollment

15   forms -- but he's also asking for a certificate showing that

16   his daughter had, in fact, passed that grade and could move on

17   to the next grade.

18         The parties sold their furniture from their big apartment

19   and took multiple steps.        They gathered numerous suitcases from

20   different sources, from the grandparents, from others.                They

21   bought luggage.     They worked out the schedule again for when

22   they would move.        And Ms. Brown took multiple steps in order to

23   ensure that she'd have a job when she got to the U.S.

24         She interviewed with multiple companies, and while she was

25   interviewing, Mr. Paris would watch the kids.              And, ultimately,




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1    she decided that the best employment move for her was to see if

2    her France employer could transfer her to their U.S.-based

3    position, which is exactly what happened.           So that all fell

4    into line.

5          They said "goodbye" to their family and friends.               They

6    purged items from their larger apartment, because it would not

7    fit in the small 200-to-300 square foot apartment that they

8    stayed at for a brief period of time.          And they forwarded their

9    mail to Mr. Paris' father so that the refund from their large

10   Paris apartment could be mailed to him and not be lost.               And so

11   when they did go back to France to visit, their mail would be

12   kept for them.

13         Mr. Paris was an equal and willing participant in all of

14   those steps until the unfortunate date of July 13th, when he

15   blocked the parties' removal from France.           Thereafter, an

16   agreement was put in place that allowed the parties to reengage

17   with that agreement.       And July 29th was chosen as the date that

18   everybody would -- well, at least Ms. Brown and the girls --

19   would go to Oregon, and Mr. Paris would follow thereafter.

20         And so --

21               THE COURT:    But you would agree, I mean, he's allowed

22   to change his mind about the permanent removal from the United

23   States --

24               MS. SKINNER:     I will get there, Your Honor.

25               THE COURT:    -- or to the United States.




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1                MS. SKINNER:      And I have a couple of cases that I

2    would like to point out to you at that time.                 I appreciate that

3    question, Your Honor.        Thank you.

4                THE COURT:     Okay.

5                MS. SKINNER:      And so the next question is whether

6    there was a wrongful retention.            And that deals, again, with

7    whether or not the children remaining in Oregon thereafter was

8    at any point wrongful.

9          And I'd like to point out, for that specific question, an

10   answer.    And that's in the form of a couple of appellate court

11   cases that I've printed off, and I'd like for the Court to take

12   very careful consideration of.            Because they do answer for us

13   this question of what happens when someone retracts or rescinds

14   their agreement?        Where does that leave us?        And so if I may

15   approach with a copy of a couple of cases.              And I'll hand the

16   same two to Mr. Starks.

17               THE COURT:     So do these cases deal with retracting

18   while in the habitual residence, or once you get to the new

19   country?

20               MS. SKINNER:      Both, Your Honor.        And so I'll start

21   off with describing the situation in Gonzalez and Caballero

22   (sic).    In that case, the petitioner, a U.S.-based parent,

23   allowed the respondent, who was a Panama-based parent who had

24   the -- who was the primary parent -- who had the child at the

25   time, to take the child to the U.S., but promptly after the




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1    child left, claimed that the visit was to be for no more than

2    two weeks, and then contacted law enforcement.

3          The Ninth Circuit held that her revocation of prior

4    consent was too late.      The court found that the petitioner's

5    claim that she only authorized a temporary removal was

6    inconsistent with the facts, and determined that the

7    respondent's testimony was more credible and consistent.

8          Now, she contends that the -- the petitioner contends that

9    the post-departure conduct shows that she rescinded or revoked

10   her consent to the removal and retention; however, the district

11   court found that post-departure -- excuse me -- that once the

12   district court found that there was the prior consent given --

13   they called it "ex ante consent" -- the court's inquiry was

14   complete.    Because if someone shows ex post nonacquiescence --

15   so dispute after the fact -- that could not revive your return

16   remedy under the Convention.

17         The second case that I wanted to point out for the Court

18   also follows along, very similarly, with the facts of this

19   case -- Cascio v. Pace.      And, in that case, the petitioner

20   argues that his agreement for the children to go to the other

21   jurisdiction was given under duress, and that his subsequent

22   conduct shows that he never actually consented to the

23   retention.

24         In that case, the court had some troubles with the

25   credibility of that witness.       And the court ultimately found




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1     that the consent exception applies when a petitioning parent

2     either expressly or through his conduct agrees to removal or

3     retention before it takes place.         Again, in that case, the

4     petitioner argued that, well, he was under duress when he did

5     so.   And the court ultimately found that the petitioner's

6     post-retention behavior was consistent with an individual who

7     had changed his mind after consenting and then rushed to

8     correct what he thereafter had decided to be an error.

9           The court finds, in short then, that the petitioner

10    expressly consented to the retention before it occurred, and

11    that his later change of heart is irrelevant, as the Hague

12    Convention does not provide a mechanism for the revocation of

13    consent once given.

14          And the reasoning behind that is pretty clear.             It's

15    because we don't want to have the kids going back and forth,

16    just like in this case, where the children's residence in

17    France was abandoned.        They do not have a home to go to in

18    France.

19          If they were to be returned today, they'd go to a

20    200-square-foot apartment where they'd be sleeping on a

21    pull-out couch.        And that's not the result that this Court

22    should reach.     And so I'd ask the Court to take careful

23    consideration of both Cascio and Caballero.

24          And, importantly, in the Cascio case, where the court has

25    some concerns about the credibility of the petitioning parent




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1    and his claim that he was under duress, I'd like the Court to

2    look at the petitioner in this case.

3          Now, there is numerous documents into evidence that, when

4    compared with petitioner's statements, cast doubt on his

5    credibility.    For example, Exhibit 248, the email he wrote to

6    the Topanga neighbors in 2019 about going to France for the

7    school year.    He says, for a very kind of confusing explanation

8    up on the stand, about, "No, I didn't really mean that."

9                THE COURT:    Right.

10               MS. SKINNER:     "That was something that Ms. Brown" --

11   so -- so he said that was a lie that he said.

12         And then, when we look at Exhibit 206, the au pair

13   application, petitioner claims, very confusingly, either he

14   didn't know or he didn't read or he didn't believe that, in

15   fact, the au pair was a year-long commitment.

16         And then we look to 207 and 214, the email to the French

17   landlord indicating that they're moving back to the U.S.

18   Again, that's a lie, although I can't -- I couldn't quite

19   pinpoint as to why that would be a lie and why that would be

20   something that Respondent would be pressuring him to say.

21         Number 60 -- Exhibit 67, correspondence where Petitioner

22   tells Respondent he's made peace with his decision to stay in

23   Ashland.    He's team Heidi.     Again, that was a lie, he says.             It

24   was just to appease Ms. Brown.           He says he was pressured.          But,

25   in fact, the evidence shows that it's Mr. Paris who puts




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1    pressure on people.      His own testimony -- he used that

2    phrase -- he put pressure on his ex-wife.

3          We saw in evidence, in Exhibit 255, he put pressure on

4    Ms. Brown's MatchTune employer, threatening them if they didn't

5    testify in his favor, they were going to have problems with

6    their reputation.

7          And then, finally, we heard he put pressure on Ms. Brown

8    when he demanded the children's beds just this last Sunday, not

9    so that he could use them while he was here with them in

10   Oregon, but so that he could put them in storage and so that

11   she couldn't use them, because he purchased them.             Otherwise,

12   he was going to call the police on her.          So, in fact, it's

13   Mr. Paris who's putting pressure on other individuals.

14         And, again, the -- Exhibit 227 and the email from the

15   children's French school director indicating that she had

16   prepared the unenrollment forms -- that was done by both

17   parents' request.       She provided the documents.       But, again,

18   Mr. Paris is claiming that's not really how it happened, or

19   that's a lie.

20         Further, Exhibit 253, an email from the director of E               's

21   school, again, describing the situation where the child had --

22   was -- she used the word "expelled" -- but we know she was

23   unenrolled from school.       And the director had discussed that

24   with both parents.      But, again, Mr. Paris says not true or

25   that's not really what happened.




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1          And so I think the Court needs to review the evidence

2    that's been admitted and test that against the testimony of the

3    Petitioner to determine -- to make a credibility determination.

4          Now, we talked about wrongful removal and wrongful

5    retention.    There's also the issue of whether or not, when that

6    occurred, what was the habitual residence of the children.                 Of

7    course, the Court looks to the totality of the circumstances.

8    And the most important question is when are we placing a date

9    on determining where their habitual residence was?

10         If the date was today or the date was four months ago,

11   that's going to be a decision for the Court to make if a

12   wrongful removal or retention took place.            We need to determine

13   when and what the children's habitual residence was at that

14   point.

15         Now, the Monasky decision, of course, indicates that --

16   that's the -- we look at the totality of the circumstances.

17   Well, here there was clearly --

18               THE COURT:    Slow down just a little bit for the court

19   reporter.

20               MS. SKINNER:     Thank you.

21         Here there was clearly a move to Oregon, gave up the

22   France apartment, sold all furniture in France, brought up

23   items from storage in California to Oregon, enrolled kids in

24   school in Oregon, secured a year-long Oregon au pair.

25         So what is habitual residence?         Do the children have




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1    habitual residence in France after they had departed and said,

2    "Au revoir, we're leaving that behind for the year"?

3                THE COURT:    Can we start with wrongful removal?

4    Because I'm still not hearing you talk about --

5                MS. SKINNER:     The -- our argument --

6                THE COURT:    -- the underlying agreement by which the

7    children left for the United States.         And, I agree, there are

8    some credibility issues with some of the explanations that

9    don't make a lot of sense by Mr. Paris.          But, I'll be honest,

10   I'm not sure if the explanation that your client gave about

11   Exhibit 23 is particularly credible.

12         I know she kept saying, "It's made out of context," but

13   I've yet to see what other context there is, especially in

14   light of the fact that, on October 7th, she filed a petition

15   totally revoking any interest in the July 19th agreement.

16               MS. SKINNER:     Thank you, Your Honor.       And I'll

17   address both points.

18         As to the intent of Ms. Brown at the time she entered into

19   the July agreement, I think she testified credibly that she

20   negotiated that agreement for hours and hours.            There was

21   discussions back and fork about health insurance and all of the

22   conditions that were placed.        She had already started to do the

23   work to put those things --

24               THE COURT:    Right.

25               MS. SKINNER:     -- in motion.




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1          And if she had had a plan to not follow through with the

2    July agreement, then why would she get her French visa renewed

3    in September of 2022, or take the steps to get it renewed?

4                THE COURT:    But what she told me is that she wanted

5    to leave her options open, which tells me that she believed she

6    had the unilateral ability to simply keep the children in the

7    United States.     And she certainly has -- is attempting to do

8    that by the October 7th filing.

9                MS. SKINNER:     And I'll address the October 7th filing

10   in just a moment.       With the testimony about keeping options

11   open, I think we need to look at that in light of the

12   flip-flopping that Mr. Paris had done at that point.             And I

13   think her credible testimony was -- in discussions with her

14   lawyer -- it was, "What do I do if he reneges on this again?

15   What can I do?     What -- could a plan be put into place if that

16   happens?    I need something with security."

17         And what we don't have in evidence is any evidence that

18   shows that she took -- and I'll get to the October 7th custody

19   pleading in just a moment -- so that aside -- she took no steps

20   to renege on the July agreement.         And, in fact, the opposite is

21   true.   She took all of the steps to keep that agreement upheld

22   and in place.

23         There's no evidence to show that there was an appointment

24   scheduled with an Oregon lawyer for July 29th, plus six months,

25   so that she could go in there and get the petition filed.




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1    There was no petition for custody that was drafted up and ready

2    to go, so that on six months and a day, that that could be

3    done.   Because she didn't take any steps to breach the

4    agreement.

5          Now, why did she file Exhibit 49, the custody case in

6    Oregon?     Not because that was part of her preplan, because, in

7    fact, the six months hadn't expired at that point.            She did

8    that because dad had filed in France, on October 3rd, a French

9    custody case.     And Ms. Brown was concerned that, again, it was

10   another reneging of a contract, and that Mr. Paris was going to

11   use the October 3rd French custody filing to, again, yank the

12   kids back.

13         And so the October 7th, 2022, filing had nothing to do

14   with, "I'm trying to now get UCCJEA jurisdiction."            It had

15   everything to do with simply getting a status quo in place so

16   that the terms of the July agreement would be able to continue

17   in force.     Because, with the status quo, the kids are here for

18   the time being, in line with that one-year agreement.

19         Now, Mr. Paris' counsel had much to say about Mr. Paris'

20   illness.     But I haven't heard any testimony or receive -- I

21   didn't receive one piece of evidence brought into this court

22   about a single condition, symptom, or any impact that it had on

23   Mr. Paris' daily living, except that he takes some B-12

24   vitamins and goes and sees a doctor occasionally.

25         But, more importantly, the information about his disease




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1    was known to him at the time of the July agreement, which was

2    why all of those conditions were built into the July agreement,

3    which was why Ms. Brown went to all of the lengths that she did

4    to ensure that Mr. Paris' medical condition would be adequately

5    met in the U.S.

6           Mr. Paris indicates in his closing argument, again, that

7    this is not a best-interest determination in the court today.

8    We know that the state court level will determine what's in the

9    kids' best interest.      He brought up a reference to Exhibit 27,

10   wherein Ms. Brown was indicating to Mr. Paris that the kids

11   were concerned for their dad.       They were afraid he was going to

12   die.     And that's because that's what he told them.         He was

13   manipulating them and said, "Your dad is going to die."

14          And so he's bringing his kids into the case.          And we have

15   evidence of that from just earlier this morning where Mr. Paris

16   is messaging with Ms. Brown, just recently, saying, you know,

17   "Basically, I'm telling the kids that we're moving to Paris at

18   the end of this court case, so you better get your act in

19   gear."    And so we have evidence that he's been bringing the

20   kids into these inappropriate communications.

21          Now, Mr. Paris argues, and his counsel argues in closing

22   argument, that he didn't consent to enrollment in Oregon

23   school.    But he sure consented to unenrollment in French school

24   well before even the July agreement.        That was something that

25   they then remained unenrolled in the French system until much,




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1    much later, when he attempted to reenroll the children there.

2          Now, he's indicating that he is not, quote, "on the lease

3    to the Oregon property."       But he's an authorized resident of

4    that lease.    He has the rights to -- and that's how that was

5    set up.

6          He also agreed to put one of their children's four-year

7    musical program on hold for a year.         That was done.      And so

8    steps were taken to ensure that the parties' move, for one

9    year, was put into motion.       And the one-year pause on the

10   program, of course, was also agreed to by Ms. Brown.             She

11   didn't say that the children need to be removed from school

12   altogether and taken out of that program.           She went along and

13   agreed, equally, with the proposal that the children's

14   schooling in France would be put on hold, and that that program

15   would be reserved for them.

16         Now, there's one other case that I'd like to bring to the

17   Court's attention if this Court finds that the facts fit this

18   situation.    And that's the idea of whether or not Mr. Paris is

19   bringing this action prematurely, having to do with the

20   question about anticipatory breach.         And that is the Toren v.

21   Toren case, cited also in my briefing, 191 F.3d 23 --

22               THE COURT:    Right.

23               MS. SKINNER:     -- which talks about a father who was

24   petitioning to a claim that the mother had made an intent to

25   retain the children past their agreement.           But that date had




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1    not been reached yet.      And the court held there that father's

2    argument was based on mother's future intent, and that the

3    father was seeking a judicial remedy for an anticipatory

4    violation of the Hague Convention.         But the Hague Convention

5    only provides a cause of action to petitioners who can

6    establish actual retention.      And so that was merely

7    anticipatory retention.

8          We've got the same facts here if the Court finds that

9    Ms. -- even if the Court does find that Ms. Brown has made an

10   anticipatory retention, which we argue she hasn't.             No steps

11   were taken.    The October 7th Oregon custody petition was for a

12   separate reason, again, to protect and preserve the July

13   agreement to keep the children here.

14         And so this -- and then I also want to touch, just

15   briefly, on habitual residence.         Because I think that --

16   depending on if the Court finds there was a wrongful removal or

17   retention, that does not begin and end our discussion about

18   habitual residency being in France.         Because if the Court

19   finds, for example, that there was a wrongful removal or

20   retention, and if the Court sets the date of October 7th, for

21   example, I think there's still a pretty strong argument that on

22   October 7th, the facts under a Monasky analysis show that

23   Oregon was, in fact, the children's habitual residence at that

24   time.   Because France had been abandoned.          And the evidence

25   shows that the children pretty quickly assimilated into their




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1    surroundings here in Oregon.

2          And so, in closing, Your Honor, we argue that there was no

3    wrongful removal or retention.           If there was, we argue the

4    defense of consent.      And if the Court finds that the defense of

5    consent is satisfied, that's the end of the discussion.

6    There's no more habitual residence argument.                Thank you, Your

7    Honor.

8                THE COURT:    Okay.

9          Reply?

10               MR. STARKS:     Just briefly.      Thank you, Your Honor.

11         In looking at the two cases, I gave them as steady an eye

12   as I could in a short period of time.            I had -- I will say on

13   Caballero, the court says at the end, at page 795, "We cannot

14   say that its factual finding of consent was clearly erroneous,"

15   which is not exactly screaming from the mountaintops that the

16   only decision could have been that there is a finding of

17   consent.

18         And in the Cascio -- I'm maybe pronouncing that right --

19   maybe not -- C-A-S-C-I-O -- in the Cascio case, which is the

20   Northern District of Illinois trial court case -- or, yeah,

21   the -- it merely makes a note at, well, page 866, I believe,

22   that the court was finding, in short, that he had expressly

23   consented to the retention before it occurred.

24         And I would really go back to Exhibit 23 and say that I

25   don't believe the Court can make that same finding here.                 This




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1    consent was based on a lie.       And it's simply not the case that

2    it was the sort of consent I think any court is looking for.

3    Thank you, Your Honor.

4                THE COURT:    Okay.

5          All right.    Let's take a quick break and give me a chance

6    to get my thoughts together.

7                MS. SKINNER:     Your Honor, I apologize if this is

8    tardy.   I had prepared, as a demonstrative aid for my closing,

9    our proposed timeline.

10               THE COURT:    Okay.

11               MS. SKINNER:     And I'd like to present that to Your

12   Honor.   And I've got a copy.

13               MR. STARKS:     Thank you.

14         And I apologize, Your Honor.       She had actually sent me a

15   nice proposed timeline with mine and hers.           And I -- it was

16   this morning.     And I've been so full of this case, I didn't

17   check my emails until we were waiting for you on the bench.               So

18   if you do need something, let me know, and we can still provide

19   that to you.

20               THE COURT:    Okay.

21         All right.    We'll be in recess for 15 minutes.

22               MR. STARKS:     Thank you, Your Honor.

23

24              (A break was taken from 3:04 PM to 3:26 PM.)

25




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1                THE COURT:    Okay.   We'll go back on the record.
2          All right.    So, as a preliminary matter, both Ms. Brown

3    and Mr. Paris, my decision today is not about who's the better

4    parent, who has behaved badly.           I think both Mr. Paris and

5    Ms. Brown -- you're good parents.           You obviously love your two

6    girls.

7          And I think, for the most part, you've shielded them from

8    their parents' conflicts -- not all of them.                I think both of

9    you understand the importance of having each of you in the

10   lives of your children -- and also the grandparents.                I really

11   did appreciate the fact that there was obviously joy in

12   Mr. Paris' father having some time with -- in Ashland -- with

13   the granddaughters.      And that tells me you care enough that

14   you're not going to hold your children hostage.                So I just

15   thought I'd throw that out.

16         It's also apparent there's no shortage of hurt between the
17   two of you.    It's not surprising to see both sides capable of
18   some manipulation, some crimination, some snooping, some
19   dishonesty.    It would be hard to find a breakup of a real

20   relationship that didn't encompass some of that stuff.                  I mean,

21   I see it in every relationship that I know of that is

22   meaningful that falls apart.        But I do sincerely hope both of

23   you can move past a lot of those issues and focus on the

24   children.

25         So in terms of habitual residence, I'm finding that




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1    Mr. Paris is a dual citizen in both France and the United

2    States.    He has a residence in France and at various times has

3    been a resident of the United States.           Ms. Brown is a United

4    States citizen.     The twins were born on January 15th, 2015, in

5    Ashland, Oregon.        They stayed there for a very short, short

6    period before moving to Topanga, California.

7          In 2017, at the age of two, while living in California,

8    the twins became French citizens.         Between 2017 and 2019, the

9    family visited France, I believe, three times, for a total of

10   about ten months.       During that time, they did attend a French

11   preschool.    And they would have been age two to four during

12   these visits.

13         In August 2019, the family moved to Paris.            I mean,

14   there's some dispute as to whether the move was intended to be

15   temporary.    I think it was.      I think, at the very least, at the

16   time of the move, the parties intended to have the children

17   attend preschool in France for at least a year.             They told

18   family and friends they intended to be gone for a year.

19         They had plans to develop property in California.               They

20   kept their household goods and stored them in California.                  They

21   rented a furnished apartment in Paris rather than purchasing a

22   home or furnishings.        But, all that said, is it happens with

23   the best of intentions.        The family remained in France well

24   over a year.    Certainly, I think the pandemic may have

25   contributed to this, as well as other factors.




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1          The girls were obviously doing well in school and enjoyed

2    it there.    There seemed no pressing reason to return to the

3    United States after one year.       So one year turned into three

4    years, and during those three years, Paris became the girls'

5    home, meaning it was their habitual residence.            The children

6    were French citizens.      They spoke fluent French.        They attended

7    French schools that had, you know, year-long programs at these

8    academies for music and dance.

9          The girls were involved in sports.         They went on school

10   and family excursions, regularly, throughout France.             They had

11   school-age friends and attended certainly visits with friends

12   and birthday parties, those type of things.           They had extended

13   family and social support in France, including a godfather.

14         So I'm finding the children were fully assimilated to

15   France and an intensive fact inquiry points to the only

16   conclusion that when the children left France for Oregon in

17   July this year, France was their habitual residence.             And that

18   analysis is under Monasky v. Taglieri, which stands for the

19   proposition that the intent of the parties, while important, is

20   not so much as important as, you know, where was the children's

21   home at the time of removal.

22         So the much more difficult issue, in this case, is whether

23   the removal of the children to Oregon was wrongful or whether

24   there was a wrongful retention.         The question here is whether

25   Ms. Brown -- whether Ms. Brown unilaterally decided to remove




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1    the children to the United States without the consent of

2    Mr. Paris.

3          So here the Court finds that in early 2022, it is apparent

4    that Ms. Brown is no longer happy living in France.            I wouldn't

5    say she was having a mid-life crisis, but, by her own

6    testimony, she had turned 40.       She hadn't intended on staying

7    in Paris as long as they had.       She certainly did not have a job

8    that she seemed very passionate about.         She wanted to be closer

9    to her family.     And the relationship with Mr. Paris was -- it's

10   hard for me to know what it was at times, to be honest, but it

11   was less than perfect.      There were definitely some difficulties

12   in the relationship.      And it's clear that Ms. Brown wanted to

13   go back home.

14         Also, early in 2022, Ms. Brown did convince Mr. Paris that

15   the family should return to the United States, specifically,

16   that they return to Ashland, Oregon, where she has family.               I'm

17   a little unclear whether they have property there or not.                But

18   I don't know if that's -- that means much to me right now.

19         And this is where, you know, really the difficulties start

20   to play in.    Because, Mr. Paris, your intent and what you want

21   seem to change dramatically.       It seemed like everybody was on

22   board in early 2022 that the family was going to move to the

23   United States.     One-way tickets are purchased April 25th, 2022,

24   for a flight to depart on July 13th, 2022.          I believe everybody

25   was leaving on that flight.




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1          Everything the family did up until the July 13th departure

2    appears to be in anticipation of a permanent move to the United

3    States.    The girls are unenrolled from the French schools by

4    the parents.    The lease to the apartment is broken, and the

5    landlord was told, "We are moving to the United States."

6          And, again, these are one of the explanations, Mr. Paris,

7    that you give, that you didn't really mean that.           You've said

8    that about a number of explanations you've given to various

9    people.    And, at some point, it starts ringing a little hollow.

10   I think you broke the lease specifically because everything

11   points to the fact you were, in fact, moving to the United

12   States.    All of the girls' belongings were packed --

13   everything, for the most part -- and any unnecessary items were

14   disposed of.

15         On July 13th, however, Mr. Paris leaves his family and

16   files paperwork -- I'm not sure exactly the specifics of all of

17   this type of paperwork and whether it was with the police

18   department or some other authority -- that effectively puts a

19   hold on Ms. Brown's ability to leave France with the children.

20   Mr. Paris is holding the passports of the entire family at this

21   time.

22         Ms. Brown is left with the two girls, no passports, no

23   home to go to.     She moves the children into a hotel, and

24   they're living out of their bags.       Mr. Paris has apparently

25   changed his mind about moving to Oregon.          But he's also put




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1     Ms. Brown in a remarkably difficult position.

2          It's a little unclear to me whether Ms. Brown was keeping

3     the children from Mr. Paris at this time.           It's clear that the

4     children and Ms. Brown are upset about not being able to go to

5     Oregon.   I think, even on -- in the limited aspect -- that a

6     number of events, that I can only think were positive and

7     uplifting to the children, such as summer camps, that they

8     would have begun immediately, were now out of the question.

9     Visiting the grandparents seemed out of the question.

10         I do think Ms. Brown's attempt at impacting Mr. Paris

11    through a very emotional video was -- she described "a bad

12    parenting moment."      But it was a bad parenting moment.           And it

13    was a bad parenting moment primarily because of the actions of

14    Mr. Paris at this time.

15         Now, I realize people get to change their mind in the

16    middle of all this, and Mr. Paris certainly had a right to

17    change his mind.       But it does then put into play this rushed

18    attempt to put together a remarkably unusual agreement, the

19    July 19th agreement, which allows the girls to fly to the

20    United States for the summer vacation period.            It allows the

21    girls to remain in the United States for the 2022-2023 school

22    year, as long as certain conditions are met.

23         And, you know, those conditions generally are that, by a

24    certain date, there be a -- I think by August 22nd -- there be

25    a lease to a four-bedroom home that also includes a home




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1    office, that there will be an au pair that will be contracted

2    with for the school year, that there will be health insurance

3    purchased for Mr. Paris by August 22nd in the United States.

4    If he's not eligible, I think, for the Oregon Health Plan, the

5    agreement is Ms. Brown and Mr. Paris would purchase that

6    insurance.    And there's some requirement that there be a

7    doctor's appointment I believe with a gastroenterologist.

8          The agreement was negotiated in France with a mediator and

9    filed in a French -- I'm assuming a French court -- I'm not

10   quite sure how France works -- on July 19th, 2022.              Ms. Brown

11   and the children fly to Oregon on July 29th, 2022.              At some

12   point, Mr. Paris joins them.

13         And, again, this is where we get into behavior that's hard

14   to understand exactly what Mr. Paris' intentions are.                 During

15   this period, he joins the family.          He lives, at times, in, it

16   appears to be the family home.          He assists the family in

17   getting set up in the Ashland home.          He appears to consent to

18   the family being in Ashland in various texts.              He denies that

19   he meant what he said in those texts.

20         He collects the household belongings in California and

21   brings them up to Ashland.      He assists in bringing on the

22   au pair.     He assists in unenrolling the girls from the French

23   school.    He certainly assisted in getting out of the lease in

24   France.    On the other hand, he refuses consent to the lease of

25   the home in Ashland, although he agrees he's listed as an




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1    occupant.    And he did not sign any enrollment documents of the

2    children in the Oregon school.

3          So based on this activity, it's very difficult to

4    understand what Mr. Paris wants or where he wants the family to

5    be.   He is also having to deal with a medical condition that

6    might legitimately raise concerns as to whether living in

7    France is in his better interest.

8          I will say, I agree with the Respondent in this area; that

9    it is unclear to the Court the seriousness of the condition.

10   The record is silent with regard to any medical opinion.             I've

11   heard some testimony about having to take B-12.           I've heard

12   some testimony that there may -- this particular disease may

13   have aspects of cancer.      But I certainly have not seen anything

14   more than Mr. Paris' description of his medical condition.

15         During this time, Ms. Brown is holding the children's

16   passports to prevent Mr. Paris from returning to France with

17   the kids, because, I think, in her own words, she was unable to

18   assess, from day to day, what he was going to do.

19         Ms. Brown does complete all of the conditions required by

20   the July 19th agreement to keep the children in Oregon for the

21   school year.    Mr. Paris refused to accept the insurance policy,

22   that was purchased on his behalf, by revoking it on

23   August 21st, allegedly due to his medical situation.            Again,

24   I'm not sure if I'm willing to find this completely credible,

25   because, one, there is no medical record before me; two,




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1    Mr. Paris' explanation for his responses in other parts of the

2    trial have been less than credible.

3          On September 3rd, Mr. Paris does search Ms. Brown's

4    computer and finds emails between attorneys indicating that

5    Ms. Brown's strategy is to not return the children to France

6    for the 2023-2024 school year.          That obviously has caused him a

7    lot of concern -- and the Court as well.

8          But here's what I think as to the July 19th agreement:               I

9    think both sides entered the July 19th agreement with some

10   doubts to how committed they were to it, in part, because it is

11   completely unclear as to whether the relationship between

12   Mr. Paris and Ms. Brown could maintain itself.             I don't think

13   either side knew whether they could make it work as a couple or

14   as a family unit, and, in part, because Mr. Paris has created

15   an untenable situation in which the children had no home, no

16   passports, and no future options for where they would be

17   staying.

18         Mr. Paris believed he needed to do very little to

19   effectuate the insurance requirements of the agreement.               This

20   does seem incredible to me, because, given his medical issues

21   that needed to be addressed, I would have thought he would have

22   been more proactive about finding medical care and finding

23   insurance in the United States -- or working out a way to

24   address his medical needs in France.          He ultimately would not

25   accept the insurance purchased, despite that condition being




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1    met almost unilaterally by Ms. Brown.

2          I agree that Ms. Brown seems to have wanted to leave her

3    options open.     Both sides seem to think that it is possible to

4    unilaterally change their mind under the French agreement,

5    which, for better or worse, they both bound themselves to.

6          So I'm finding that there has been no wrongful removal.                  I

7    base this, in part, in the language found in Flores Castro v.

8    Hernandez Renteria, 971 F.3d 882, a Ninth Circuit case from

9    2020.   Judge Smith holds that removal is not wrongful if

10   there's consent to leave the country.         It only becomes wrongful

11   when children are retained without consent.

12         I don't believe consent, in this case, can be so easily

13   revoked, and that it results in the children then being treated

14   like a ping-pong ball.      At this point, the agreement and the

15   activities of the parties suggest that Mr. Paris has consented

16   to the family living in Oregon for the 2022-2023 school year.

17         Obviously, if Ms. Brown chooses to keep the children in

18   Oregon, she will be in violation of the French agreement.                The

19   Oregon courts may want to, and I think they should, enforce the

20   agreement you entered into.      I think you should be stuck with

21   it, even if you change your mind.

22         There may be other reasons why the Oregon courts would

23   find otherwise.     I do believe that if that comes -- if it comes

24   to that, there's clear evidence before the Court today that the

25   children are certainly creating a habitual residence in the




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1     United States without any great impediment.

2          So I am going to deny the petition.         I am going to find

3     that there has been no wrongful removal.         This was a difficult

4     case.   I apologize to both of you for how difficult it is, to

5     both sets of family.     I don't see anybody as a great winner

6     here when both of you worked very hard for these children and

7     for both of you.

8          Is there anything further we need to discuss?

9                MR. STARKS:    Thank you for your time and attention,

10    Your Honor.

11               MS. SKINNER:    Nothing from Respondent.        Thank you,

12    Your Honor.

13               THE COURT:    All right.    Thank you, both.

14

15                  (The proceedings adjourned at 3:45 PM.)

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1                            C E R T I F I C A T E
2

3                      Arnaud Paris v. Heidi Marie Brown
4                               1:22-cv-01593-MC
5                             Court Trial Excerpt
6                               December 7, 2022
7

8          I certify, by signing below, that the foregoing is a true
9    and correct transcript of the record, taken by stenographic
10   means, of the proceedings in the above-entitled cause.               A
11   transcript without an original signature, conformed signature,
12   or digitally signed signature is not certified.
13

14   /s/Kendra A. Steppler, RPR, CRR
     Official Court Reporter                 Signature Date: 12/13/2022
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